AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Eastern District of Tennessee



 BLOUNT PRIDE, a 501 (c)(3) nonprofit organization,
         and MATTHEW LOVEGOOD,



                            Plaintiff(s)
                                V.                                           Civil Action No.


   RYAN K. DESMOND, in his individual and official
  capacity as the District Attorney General of Blount
    County, Tennessee, JAMES BERRONG, in his
  official capacity as Blount County, TN Sheriff, et al.
                           Defendant(s)


                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name andaddress) JAMES BERRONG, in his Official Capacity as
                                   Sheriff for Blount County, TN
                                           940 E. Lamar Alexander Parkway
                                           Maryville, TN 37804




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                                 —




are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)
                     you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      —




the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:                Justin S. Gilbert
                                           Gilbert Law, PLC
                                           100 W. Martin Luther King Blvd.
                                           Suite 501
                                           Chattangooga, TN 37402
                                           Phone: 423-756-8203; justin@schoolandworklaw.com

        If
           you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk




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 Civil Action No.



                                                              PROOF OF SERVICE
                       (This section should not befiled with the court unless required hy Fed. R. Civ. P. 4 (l))

           This summons for (name ofindividua/ and title, ifany)

was received by me on (date)


           O I personally served the summons on the individual at (place)

                                                                                      on (date)                            ; or

           O   I left the summons at the individual's residence or usual place of abode with (name)

                                                                    ,
                                                                        a person of suitable age and discretion who resides there,

           on (date)                               ,   and mailed a copy to the individual's last known address; or


           O I served the summons on (name Q/ individual)                                                                                  who is

            designated by law to accept service of process on behalf of (name of organization)

                                                                                      on (date)                            ,   or


           O   I returned the
                                 summons unexecuted because                                                                                  ; or

           O Other (specify):




           My fees are $                           for travel and   $                     for services, for a total of $            0.00



           I declare under penalty of perjury that this information is true.




 Date:
                                                                                                  Server 's signature



                                                                                              Printed name and title




                                                                                                  Server 's address


 Additional information regarding attempted service, etc:




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